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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


MARY CARR and JAN G. WYERS,
individually and on behalf of all others similarly   Case No:
situated,
                                                     CLASS ACTION COMPLAINT
                            Plaintiffs,
                                                     JURY TRIAL DEMANDED
v.

GENERAL MOTORS LLC,

                           Defendant.



       Plaintiffs Mary Carr and Jan G. Wyers (“Plaintiffs”) bring this class action lawsuit against

General Motors LLC (“GM” or “Defendant”) on behalf of themselves and all other similarly

situated persons who purchased or leased 2017-2019 model year Chevrolet Bolt all-electric



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vehicles that GM has recalled or will recall due to the potential for fire in the high-voltage lithium-

ion battery pack that propels the vehicle (hereafter “Chevy Bolt” or “Class Vehicles”). As

described in more detail below, Plaintiffs seek economic damages and other appropriate relief

because the Class Vehicles are defective and were deceptively marketed to consumers.

                                          INTRODUCTION

        1.     The Chevrolet Bolt is a plug-in, all-electric vehicle powered by a high-voltage

lithium-ion battery pack (“Battery”). 1

        2.     Electric vehicles like the Bolt have important environmental and financial

advantages over conventional vehicles with internal combustion engines. In general, the cost of

electricity to charge an electric vehicle (“EV”) is considerably less than would be the cost of

fueling with gasoline or diesel, and vehicle maintenance costs typically are lower as well.

Significantly, all-electric vehicles do not produce any of the tailpipe emissions -- such as nitrogen

oxides and other smog-forming pollutants, other pollutants harmful to human health, or carbon

dioxide and other greenhouse gases – that are produced by vehicles with internal combustion

engines. 2 The total lack of tailpipe emissions means that EVs help improve air quality, improve

public health, and reduce the overall ecological damage caused by driving personal vehicles. (Id.)




1
  The high-voltage battery pack “spans the entire floor” of the vehicle, “from the front foot well
to back of the rear seat.”
https://media.chevrolet.com/media/us/en/chevrolet/news.detail.html/content/Pages/news/us/en/20
16/Jan/naias/chevy/0111-bolt-du.html (last visited Feb. 24, 2021). The Bolt also has a 12-volt
“accessory” battery under the hood that powers the vehicle’s computer system, lights,
infotainment system, and other components. GM’s recall is focused on the Bolt’s high voltage
lithium-ion battery pack, not the accessory battery.
2
  https://www.energy.gov/eere/electricvehicles/reducing-pollution-electric-vehicles (last visited
Feb. 24, 2021).


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This benefit is especially significant in Oregon and other states in which most electricity is

generated from sources other than coal-fired plants. 3

        3.     Electric vehicles generally do not travel as far on a full electrical charge as a

gasoline- or diesel-powered car would travel on a full tank of fuel. In addition, it takes much longer

to charge an EV’s battery than to fill a gas tank. For example, the 2017, 2018, and 2019 Bolt EV

Owner’s Manuals state that charging the Battery from a standard 120-volt AC electrical outlet for

an hour would yield about 4 miles of driving range. If the Battery were completely depleted, it

would take about 50 hours to fully recharge. For this reason, many Bolt owners install “Level

Two” 240-volt charging stations at their residences. Although faster, 240-volt chargers still

provide only about 25 miles of driving range per hour of charging. 4 Necessarily, then, the distance

one can drive on a fully-charged battery without stopping to recharge the battery (the “battery

range” or “range”) is one of the most critical factors to consider in purchasing any all-electric

vehicle.

        4.     GM was well aware of the importance that consumers placed on an EV’s battery

range and marketed the Bolt accordingly. It touted the Chevy Bolt’s Battery as being “where it all

starts,” and advertised an energy capacity of 60 kWh, which GM said allowed drivers to travel an




3
  See https://afdc.energy.gov/vehicles/electric_emissions.html (state-by-state calculator showing
that charging an all-electric vehicle in Oregon produces less than 17% of the carbon dioxide
equivalent of that produced by gasoline-powered vehicles) (last visited Feb. 24, 2021).
4
  The only way to charge the Bolt more quickly is to find a “DC Fast Charging” station. These
chargers are not available for home installation (https://www.chevrolet.com/electric/living-
electric, last visited Feb. 24, 2021) and are nowhere near as prevalent as gas stations. One might
need to wait an hour or more to use a particular fast charger if another EV is already charging
there, and the wait could be hours if the other driver does not retrieve the car as soon as it is
charged.


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EPA-estimated 238 miles on a single full charge. 5 An example of one such advertisement touting

the Bolt’s battery capabilities appears below.




        5.     The Bolt’s stated range impressed consumers and automotive reviewers. The

Chevy Bolt received the prestigious 2017 Motor Trend Car of the Year accolade as being a “game

changer” due in part to the 238 miles the “EPA has certified the [Chevy] Bolt EV will travel on a

full charge.” 6 It was similarly awarded titles for the 2017 North American Car of the Year, 7 and

2017 Green Car of the Year. 8 Green Car Reports stated that the “most important thing about the

Bolt EV” was “how far you can go on a single charge,” noting that the 2017 Bolt offered “the

range of a Tesla, for roughly half the price.” 9



5
  https://www.dublinchevrolet.com/Chevrolet-Bolt-EV (last visited Feb. 24, 2021); see also,
https://web.archive.org/web/20171011012928/http://www.chevrolet.com/bolt-ev-electric-vehicle
(last visited Feb. 24, 2021).
6
  https://www.motortrend.com/news/chevrolet-bolt-ev-2017-car-of-the-year/ (last visited Feb.
24, 2021).
7
  https://northamericancaroftheyear.org/chevrolet-bolt-chrysler-pacifica-honda-ridgeline-named-
2017-north-american-car-truck-and-utility-vehicle-of-the-year/ (last visited Feb. 24, 2021).
8
  https://www.autoblog.com/2016/11/17/chevy-bolt-wins-2017-green-car-of-the-year/ (last
visited Feb. 24, 2021).
9
  https://www.hybridcars.com/2017-chevy-bolts-trophy-case-is-filling-up (last visited Feb. 24,
2021); https://www.greencarreports.com/news/1106584_chevrolet-bolt-ev-green-car-reports-
best-car-to-buy-
2017#:~:text=The%20most%20important%20thing%20about,much%20faster%20than%20other
%20uses (last visited Feb. 24, 2021).


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       6.      Unfortunately for consumers like Plaintiffs, however, the Class Vehicles have a

serious defect that significantly reduces their range: when the Batteries are fully or almost fully

charged, they pose a risk of fire 10 (the “Battery Defect”). The National Highway Traffic Safety

Administration (“NHTSA”) warns that the “affected vehicles’ [battery] cell packs have the

potential to smoke and ignite internally, which could spread to the rest of the vehicle and cause a

structure fire if parked inside a garage or near a house” and that the vehicles “can catch fire even

if they are turned off, parked, and disconnected from a charging unit.” 11

       7.      Instead of replacing the defective Battery, GM is offering only an unsatisfactory

“interim remedy” to reduce the risk of fire: dealer installation of “a software update that will limit

the charge [for all Class Vehicles] to 90%.” 12 In the alternative, depending on the model year of

their Bolt, owners and lessees can activate the car’s “Hill Top Reserve” option or “Target Charge

Level” feature to limit charging capacity to 90 percent. 13 All of these options significantly reduce

the Bolt’s range.

       8.      GM knew but failed to inform prospective owners and lessees about this dangerous

Battery Defect and that they would be forced to decide between risking a potentially fatal car fire

or losing significant range. To the contrary, GM previously encouraged Bolt owners and lessees

to fully charge the Bolt Battery.

       9.      GM’s conduct has placed Bolt purchasers and lessees in an untenable position:

either fully charge the Battery to be able to use the vehicle’s stated 238-mile driving range but run



10
    https://my.chevrolet.com/how-to-support/safety/boltevrecall (last visited Feb. 24, 2021).
11
   https://www.nhtsa.gov/press-releases/consumer-alert-chevrolet-bolt-recall-fire-
risk#:~:text=GM%20has%20issued%20a%20recall,the%20back%20seat's%20bottom%20cushio
n.&text=NHTSA%20has%20confirmed%20five%20known,vehicle%20and%20ignited%20a%2
0home (last visited Feb.24, 2021).
12
    https://my.chevrolet.com/how-to-support/safety/boltevrecall (last visited Feb. 24, 2021).
13
    Id.


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the risk of a serious fire, or lessen the risk of fire by acquiescing to GM’s recommended “fix” and

lose at least 10% of the range they expected to have. For Plaintiffs and other customers, the reduced

range means that they can no longer drive their Bolt to places they once reached on a single charge

without spending time finding a charging station and recharging the Battery during the trip. They

may have to rent or borrow a non-electric car for trips that exceed the reduced range, thereby

foregoing the environmental, monetary, and other advantages of driving an EV.

          10.   The actual distance that Plaintiffs and other Class Members can comfortably drive

on a single charge is even less than 90% of the 238-mile stated range of the Bolt because weather,

detours, traffic, and other conditions can cause the Battery to be depleted earlier than expected. If

the Battery is fully depleted, the car cannot be driven until it is plugged in and recharged long

enough to complete a trip.

          11.   Plaintiffs bring this class action lawsuit on behalf of themselves and a class of

similarly situated consumers who have purchased or leased one or more of the Class Vehicles (the

“Class” or “Class Members”).

          12.   Plaintiffs and the Class seek redress for GM’s fraudulent conduct, its breaches of

express and implied warranties, unjust enrichment, and GM’s violations of the Oregon Unlawful

Trade Practices Act and the Magnuson-Moss Warranty Act.

          13.   Plaintiffs and the Class seek actual damages, restitution, and equitable relief, as

well as statutorily-permitted reasonable attorneys’ fees and costs of suit and pre- and post-

judgment interest. Plaintiffs and the Class also seek punitive damages as a result of GM knowingly

introducing defective Class Vehicles into the marketplace and defrauding consumers across the

nation.




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                                             PARTIES

A.      Plaintiffs

        14.     Plaintiffs Mary Carr and Jan Wyers are adult individuals who reside in Portland,

Oregon. On or about November 27, 2018, Plaintiffs purchased a 2019 Chevrolet Bolt from a

dealership in Beaverton, Oregon, an authorized GM retailer.

B.      Defendant General Motors

        15.     Defendant GM is a limited liability company organized under Delaware law with

its principal office located at 300 Renaissance Center, Detroit, Michigan 48265. Defendant

designs, tests, markets, manufactures, distributes, warrants, sells, and leases various vehicles under

several prominent brand names, including but not limited to Chevrolet, Buick, GMC, and Cadillac,

in this district and throughout the United States.


                                          JURISDICTION

        16.     This Court has subject matter jurisdiction of this action pursuant to the Class Action

Fairness Act of 2005, 28 U.S.C. § 1332(d), because: (i) there are 100 or more class members, (ii)

there is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest and costs,

and (iii) at least one Class Member is a citizen of a different state than Defendant. This Court has

supplemental jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. § 1367.

        17.     This Court has personal jurisdiction over Defendant because it is present, licensed

to conduct business, and does conduct business regularly in this District; and Defendant has

sufficient contacts with this District.

                                              VENUE

        18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

regularly transacts business in this District, including sales and advertising, and Defendant is



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subject to personal jurisdiction in this District. Additionally, a substantial part of the events and/or

omissions giving rise to Plaintiffs’ claims occurred within this District.

                                    FACTUAL AVERMENTS

A.     GM Markets and Sells the Chevrolet Bolt

       19.     The Chevy Bolt is a front-motor, five-door, all-electric, plug-in hatchback. A

picture of the 2017 ChevyBolt is below:




       20.     An all-electric vehicle’s usefulness depends in large part on its range: the distance

the vehicle can travel before its battery must be recharged. This is because there are far fewer

charging stations than gas stations in the United States, and because it takes much longer to charge

an EV’s battery than to put gasoline in a car. Electric car buyers necessarily rely on the

manufacturer’s representations about an electric vehicle’s range.




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        21.     GM’s national advertising campaigns marketed the Bolt’s “impressive EPA-

estimated 238 miles of range” as one of its main selling points. GM touted the Battery as where

“[i]t all starts” and as making it possible to get drivers to the places they need to go. 14

        22.     GM consistently represented to customers -- including in “Chevrolet Bolt EV

Specifications” published for the 2017, 2018, and 2019 model year Bolt EVs 15 and in Chevrolet

Bolt EV Catalogs 16 -- that the Class Vehicles had an EPA-estimated range of 238 miles.

B.      The Chevrolet Bolt Suffers from a Battery Defect that Leads to Fire Risk When the
        Battery Is Fully Charged

        23.     The lithium-ion Batteries in the Class Vehicles were produced at an LG Chem

facility in Ochang, South Korea.

        24.     Lithium-ion batteries, such as those used in the Chevrolet Bolt, are a key component

of electric vehicles due to their high specific energy, high power, and long lifecycle. 17

        25.     Drivers rely on the capacity and safety of the lithium-ion batteries that power the

Chevrolet Bolt.




14
    https://web.archive.org/web/20171011012928/http:/www.chevrolet.com/bolt-ev-electric-
vehicle (last visited Feb. 24, 2021).
15
   https://media.chevrolet.com/media/us/en/chevrolet/vehicles/bolt-ev/2017.tab1.html;
https://media.chevrolet.com/media/us/en/chevrolet/vehicles/bolt-ev/2018.tab1.html;
https://media.chevrolet.com/media/us/en/chevrolet/vehicles/bolt-ev/2019.tab1.html (last visited
Feb. 24, 2021).
16
   https://s3.amazonaws.com/fzautomotive/dealers/2017-bolt.pdf;
https://www.chevrolet.com/content/dam/chevrolet/na/us/english/index/shopping-tools/download-
catalog/02-pdf/2018-chevrolet-bolt-ev-catalog.pdf;
https://s3.amazonaws.com/fzautomotive/dealers/2017-bolt.pdf (last visited Feb. 24, 2021).
17
   https://afdc.energy.gov/vehicles/electric_batteries.html#:~:text=Lithium-Ion%20Batteries,-
Lithium-
ion%20batteries&text=They%20also%20have%20a%20high,%2C%20and%20low%20self-
discharge.&text=Most%20of%20today's%20PHEVs%20and,that%20of%20consumer%20electr
onics%20batteries (last visited Feb. 24, 2021).


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        26.      Unbeknownst to Plaintiffs and the Class when they purchased or leased their Bolts,

however, the Class Vehicles have a defect that renders the Battery susceptible to catching fire

when fully charged. Rather than inform consumers about the existence of this Battery Defect at

the time of purchase, GM actually encouraged Chevy Bolt owners to “top off your battery as much

or as little as you like.” 18

        27.      Indeed, in a Facebook Q&A in October of 2019, Chevy Bolt EV Expert Adam

Piper, Energy Performance Engineer at GM, dispelled concerns that Chevy Bolt EV owners should

avoid charging their batteries to 100%, stating: “We engineered the battery system so that you can

charge to 100% and maximize range. Do whatever is best for your personal circumstances. If you

want maximum range, charge to 100%.” 19

        28.      Despite these assurances, on November 13, 2020, GM announced that it was

“recalling all 2017-2018 and certain 2019 Chevrolet Bolt EV vehicles” because the “high voltage

battery could catch fire when charged to full or nearly full capacity.” 20 The affected vehicles—

over 50,000 of which are in the United States—are equipped with design-level N2.1 Batteries

produced at LG Chem’s Ochang, Korea plant. Through its own investigation, GM concluded

that the Battery pack posed a risk of fire when charged to full, or very close to full, capacity.

        29.      By definition, all Class Vehicles are affected by the recall. But not all Bolts are

necessarily affected by the Battery Defect. GM has not recalled certain model year 2019 Bolts

whose Batteries were produced in different LG facility. It also has not recalled any model year



18
    https://web.archive.org/web/20171011012928/http://www.chevrolet.com/bolt-ev-electric-
vehicle (last visited Feb. 24, 2021).
19
    See Steve Birkett, 3 Takeaways from GM’s Q&A with a Chevy Bolt EV Battery Expert,
TORQUE NEWS (Oct. 31, 2019), https://www.torquenews.com/7893/3-takeaways-qa-chevy-bolt-
ev-battery-expert (last visited Feb. 24, 2021).
20
   https://www.nhtsa.gov/vehicle/2019/CHEVROLET/BOLT%252520EV/5%252520HB/FWD#r
ecalls (last visited Feb. 24, 2021).


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2020 Chevrolet Bolt EVs, reporting that the 2020 model “uses a different [battery-]cell design

than the vehicles affected by this recall.” 21

        30.     Although GM now has Batteries that have not manifested the Battery Defect, it

is not recalling Class Vehicles to replace the dangerous Batteries. Instead, GM is recalling Class

Vehicles to reprogram the hybrid propulsion system control module to reduce the Battery’s

charge capacity by 10%. This software change automatically reduces the Battery’s range to

approximately 214 miles or less.

        31.     GM recommends that until the dealer-installed software update is completed,

Class Vehicle owners and lessees should engage the “Hill Top Reserve” or “Target Charge”

feature on their Chevy Bolt to limit the Batteries’ charge to a maximum of 90%. GM also advised

owners and lessees of Class Vehicles not to park their cars in their garages or carports or near

other structures until the charging level of their vehicle is limited as recommended.

        32.     Class Vehicle owners are thus faced with a Hobson’s choice: either do nothing

and risk a potentially fatal car fire, or significantly diminish the charging capacity of the Battery,

thereby reducing their driving range by at least 10% and probably more.

        33.     GM has sold and leased, and continues to sell and lease, Class Vehicles with the

knowledge that they contain defective and potentially dangerous Batteries.

C.      GM’s Knowledge of and Insufficient Response to Battery Issues

        34.     GM has been aware of Battery-related problems in the Bolt since at least late 2016.

        35.     In December 2016, shortly after launching the Bolt, GM issued Service Bulletin

PIC6239 informing dealers of a “Bolt EV (BEV2) High Voltage Battery Exchange and internal




21
  Frequently Asked Questions, Bolt EV Recall, https://my.chevrolet.com/how-to-
support/safety/boltevrecall (last visited Feb. 24, 2021).


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Parts Process” that might require them to replace the Bolt’s “Rechargeable Energy Storage System

(RESS)” (i.e., the Battery) or certain related components. 22

       36.     In November 2017, GM issued a revised “Customer Satisfaction Program” bulletin

warning that “Certain 2017 model year Chevrolet Bolt EV vehicles may have a condition in which

the cells within the battery pack have low voltage. This condition is related to the state of charge

of the cell group. Eventually, the difference in the state of charge of the cell groups (average vs.

minimum) may exceed a threshold,” requiring replacement of the “high voltage battery pack.” 23

       37.     A display screen in the Bolt informs drivers of the vehicle’s estimated driving range

on its current charge and warns them when the Battery is at an especially low state of charge.

Drivers rely on this information to calculate how far they can drive without having to recharge,

and when they need to charge immediately to avoid losing propulsion. If propulsion is completely

lost, the car must be towed to a charging station or electric outlet and recharged. One cannot merely

add a gallon of gas to a tank, or jump start the Battery.

       38.     In March or April 2018, GM instructed certain owners of the 2017 Chevrolet Bolt

to get a dealer-installed software update because otherwise the vehicle “may experience ‘loss of

propulsion’ and stop suddenly without warning due to low charge despite the battery indicator

showing charge.” 24

       39.     On or about May 11, 2018, GM released “Customer Satisfaction Program 18125

Loss of Propulsion High Voltage Battery Without Notification” regarding all Bolt EVs, including

2017 models that had already received the software update released little more than a month earlier.




22
   https://static.nhtsa.gov/odi/tsbs/2016/MC-10111727-9999.pdf (last visited Feb. 24, 2021).
23
   https://static.oemdtc.com/Recall/MC-10135136-9999.pdf (last visited Feb. 24, 2021).
24
   See April 9, 2018 Electrical System complaint at
https://www.nhtsa.gov/vehicle/2017/CHEVROLET/BOLT (last visited Feb. 24, 2021).


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The May notice disclosed that “[c]ertain 2017-2018 model year Bolt EV vehicles may have a

condition where the software will not detect the difference in the state of charge between the cell

groups of the battery and over predict the indicated battery range. The current software may not

provide sufficient warning prior to a battery cell low range condition, which may result in a loss

of propulsion.” GM explained that all Bolt EVs needed the software update to “increase[] the

accuracy of the range estimation” and “provid[e] more warning at low states of charge.” 25 GM

updated its service procedure for this problem in August 2018. 26

       40.       In 2019, Tim Grewe, GM’s chief engineer of electric propulsion systems, publicly

acknowledged that LG Chem’s manufacturing practices had caused Battery issues, including

“reduced range and early capacity fade” in some Bolt EVs. 27

       41.       By 2020, GM was receiving complaints about fires stemming from the Battery

pack, which prompted GM to initiate an internal investigation spanning from August to November

of 2020.

       42.       Despite its knowledge, GM did not notify Plaintiffs or other customers considering

purchasing Class Vehicles of the Battery problems, the associated hazards, or GM’s internal

investigation.

       43.       GM did not initiate its recall until after several fires occurred in Class Vehicles.

Upon information and belief, GM delayed the recall to avoid the financial ramifications of




25
   https://static.nhtsa.gov/odi/tsbs/2018/MC-10143682-9999.pdf; Eric Loveday, *UPDATE –
Possible Chevy Bolt Battery Cell Failure Prompts GM Statement / Recall, INSIDE EVS (May 11,
2018), https://insideevs.com/news/337521/update-possible-chevy-bolt-battery-cell-failure-
prompts-gm-statement-recall/ (last visited Feb. 24, 2021).
26
   https://static.nhtsa.gov/odi/tsbs/2018/MC-10145176-9999.pdf (last visited Feb. 24, 2021).
27
   See Bradley Berman, My Chevy Bolt Is On Third Battery Pack: Here’s Why, INSIDEEVS (Feb.
6, 2019), https://insideevs.com/news/342671/my-chevy-bolt-is-on-third-battery-pack-heres-why/
(last visited Feb. 24, 2021).


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acknowledging that Class Vehicles and their Batteries have manufacturing and design defects that

render them incapable of safely providing customers with GM’s advertised 238-mile driving range.

          44.    GM actively concealed the fact that its representations regarding the Class

Vehicle’s Battery range were false in that the stated range could be achieved only through

unreasonable usage of the battery at maximum capacity, which increases the risk of fire even when

Class Vehicles are not in operation. GM withheld the fact that the existence of the Battery Defect

would diminish Bolt drivers’ usage of the Class Vehicles and depreciate the Class Vehicles’

intrinsic and resale value.

          45.    GM publicly announced the Battery Defect in the form of a recall in November

2020. GM Recall number N202311730 revealed, in pertinent part, that “General Motors has

decided that a defect which relates to motor vehicle safety exists in select 2017-2019 model year

Chevrolet Bolt EV vehicles,” that Bolts with “high voltage batteries produced at LG Chem’s

Ochang, Korea facility . . . may pose a risk of fire when charged to full, or very close to full,

capacity” and that “GM has developed software that will limit vehicle charging to 90% of full

capacity to mitigate this risk.” 28




28
     https://static.nhtsa.gov/odi/rcl/2020/RCSB-20V701-2489.pdf (last visited Feb. 24, 2021).


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       46.     GM mailed recall notices to Bolt owners and lessees in November 2020. Below is

a copy of a follow-up notice received by Plaintiffs.




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       47.    Instead of conducting a full recall to completely replace the defective Battery, GM

is providing only an unsuitable temporary remedy of reprogramming the car’s software so that

drivers cannot fully charge their Class Vehicles, and therefore cannot take advantage of the EPA-

estimated 238-mile range that GM promised them.

       48.    The reduced range produced by the software change increases the “range anxiety”

that many EV drivers already have – the fear that their vehicle will not have sufficient battery




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capacity to safely get them from point A to point B. 29 The software change also requires Plaintiffs

and Class Members to spend more time charging their Bolt EVs, and imposes additional expense

and inconvenience for maintenance and potentially for using other vehicles to reach destinations

that would be accessible if the Bolt’ range had not been significantly reduced.

       49.     Accordingly, Bolt owners and lessees have been deprived of the benefit of the

bargain they made when they purchased or leased their Bolts.

       50.     While “GM said it understands owners could be upset about their cars not being

fully functional”, it will only “address complaints on a case-by-case basis.” 30 Plaintiffs are not

aware of GM having addressed owner complaints other than by recommending limiting the

Battery’s charging capacity.

       51.     Upon information and belief, GM has not agreed to replace the defective Batteries

or provide any other remedial measures that will provide Plaintiffs and Class Members with a

permanent remedy for the Battery Defect and restore the EPA-estimated driving range of 238 miles

on a full charge.

       52.     GM’s failure to properly address the known Battery Defect has harmed Plaintiffs

and the Class Members.

D.     Plaintiffs’ Experiences with the Chevrolet Bolt

       53.     Plaintiffs’ experiences with their Class Vehicle are consistent with those of

countless other Chevrolet Bolt owners and lessees.




29
   See Allen Brooks, EV “Range Anxiety”: Real World Issues, MASTERRESOURCE (July 10,
2017), https://www.masterresource.org/electric-vehicles/ev-batteries/ (last visited Feb. 24, 2021).
30
   Tom Krisher, GM recalling nearly 69K Bolt electric cars due to fire risk, ABC News (Nov.
13, 2020), https://abcnews.go.com/Technology/wireStory/gm-recalling-69k-bolt-electric-cars-
due-fire-74194714 (last visited Feb. 24, 2021).


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        54.     On or about November 27, 2018, Plaintiffs Carr and Wyers purchased a new 2019

Chevrolet Bolt from an authorized GM dealership in Beaverton, Oregon.

        55.     Plaintiffs Carr and Wyers purchased their Chevrolet Bolt for personal and

household use. It is their only vehicle.

        56.     Plaintiffs Carr and Wyers decided to purchase the Chevrolet Bolt after seeing,

hearing, and considering GM’s representations about the vehicle, including the reported 238-

mile range. They had considered buying another all-electric vehicle, the Nissan Leaf, but bought

the Bolt because of its greater range.

        57.     Plaintiffs Carr and Wyers received GM’s recall notice in November 2020. Their

dealer performed the software change on January 19, 2021.

        58.     The required software change dramatically reduced the Battery capacity and the

range of Plaintiffs’ vehicle. After “fully charging” the Battery at a DC fast charge station, the

charger’s display stated that the Battery actually was charged to only 84% capacity (not the 90%

indicated in GM’s recall notices and press releases). And after “fully” charging the Battery to its

new 84% capacity, the Vehicle’s dashboard display estimated a driving range of only 126 miles

– little more than half of the EPA estimated range of 238 miles that Plaintiffs expected when

they purchased their Bolt.

        59.     “Using the heat and air conditioning systems [in the Bolt] decreases the energy

available for electric driving” (Owner’s Manual, 2019 Bolt, p. 30) and so decreases the Bolt’s

range. The software patch installed on Plaintiffs’ vehicle exacerbates these reductions in vehicle

range, further limiting the trips that Plaintiffs can take in cold or hot weather without interrupting

their journey to re-charge the Battery.




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       60.     Plaintiffs Carr and Wyers purchased the Bolt because they believed it offered the

ability to travel to a number of out-of-town locations within Oregon that they visit on a regular

basis on a single charge. They also believed it would allow them to travel to destinations in

Washington State with at most one stop each way to “top off” the battery. The reduced range

prevents them from taking many of these trips in the way they had planned. They now have to

interrupt their travels to find and use charging stations or rent a vehicle. Renting a vehicle with

a conventional engine, however, causes the environmental harms that Plaintiffs wanted to avoid

in purchasing an EV.

       61.     When Plaintiffs Carr and Wyers purchased their Chevrolet Bolt, they were not

aware of the Battery Defect, or that to prevent a battery fire they would have to greatly reduce

their vehicle’s Battery capacity and their range.

       62.     Had GM disclosed the Battery Defect, Plaintiffs Carr and Wyers would not have

purchased the Chevrolet Bolt or would have paid substantially less for it.

E. Numerous Other Chevrolet Bolt Owners and Lessees Have Complained of the Defect

       63.     Plaintiffs’ experience is neither unique nor isolated. Defendant’s defective

Chevrolet Bolt has drawn the attention and ire of consumers around the country, with many angry

customers taking to the Internet to voice their discontent over their vehicles and the response (or

lack thereof) by GM.

       64.     A small sample of the consumer complaints made to NHTSA about the Chevrolet

Bolt Battery Defect issue are reproduced below:

       • October 30, 2020 NHTSA ID NUMBER: 11372429
               Incident Date October 21, 2020
               IN THE EARLY MORNING HOURS OF OCTOBER 21ST,
               AROUND 3AM, WE WERE WOKEN UP BY SMOKE/FIRE
               ALARMS. WE STARTED RUNNING AROUND OUR HOME


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            TO IDENTIFY THE CAUSE OF THE ALARM. AFTER ABOUT
            5 MINUTES OF SEARCHING INSIDE THE HOME AND
            FINDING NOTHING, WE REALIZED THAT THERE WAS
            SOME SMELL OF SMOKE COMING FROM THE GARAGE
            AND WHEN THE MUDROOM DOOR WHICH LEADS TO
            THE GARAGE WAS OPENED, WE FOUND THAT THE
            CHEVY BOLT WAS ON FIRE AND THERE WAS LOT OF
            SMOKE IN THE GARAGE. THE CHEVY BOLT WAS
            PARKED/STATIONARY IN DOOR 3 SECTION OF THE
            GARAGE AND OUR OTHER CAR WAS PARKED IN DOOR 1
            SECTION OF THE GARAGE. THE DOOR 2 SECTION OF THE
            GARAGE WAS EMPTY AT THE TIME OF THE INCIDENT.
            WITH CHEVY BOLT ON FIRE, WE SAW THAT THE DOOR 3
            SECTION OF THE GARAGE WAS ENGULFED IN FLAMES
            AND FILLED WITH SMOKE. WE TRIED TO USE THE FIRE
            EXTINGUISHER TO PUT-OFF [sic] THE FIRE BUT COULD
            NOT CONTAIN THE SPREAD OF THE FIRE. THE CHEVY
            BOLT WAS KEPT FOR CHARGING OVERNIGHT , AS HAS
            BEEN THE GENERAL PRACTICE THAT WE HAVE BEEN
            FOLLOWING FOR AROUND 2 YEARS. WE CALLED 911 AS
            SOON AS WE SAW THE GARAGE IN FLAMES AND FIRE
            ENGINES ARRIVED WITHIN 15 MINUTES BUT THE FIRE
            HAD SPREAD WIDELY AND CAUSED RAMPANT
            DAMAGES TO THE ENTIRE GARAGE INCLUDING THE
            OTHER CAR, BEDROOM ON THE TOP OF THE GARAGE IN
            THE SECOND FLOOR AND THE BEDROOM ADJOINING
            THE GARAGE IN THE FIRST FLOOR. WHILE ALL THE
            OCCUPANTS OF THE HOME GOT OUT WITHIN AROUND 8
            MINUTES OF HEARING THE FIRE ALARM, THE FIRE AND
            HEAT/SMOKE SPREAD QUICKLY TO WASHER/DRYER
            SECTION, EAT IN DINING, KITCHEN, FAMILY ROOM AND
            FORMAL DINING ROOM. THE OTHER SECTIONS OF THE
            HOME INCLUDING THE FOYER, OFFICE ROOM, SUN
            ROOM AND ALL OF THE BEDROOMS UPSTAIRS WERE
            QUICKLY FILLED BY SMOKE AND SOOT. THE HEAT
            INSIDE THE HOME WAS SO MUCH THAT ONE CAN
            LITERALLY SEE THE FRAMING STUDS. THE TOWNSHIP
            FIRE AND POLICE DEPARTMENT ARRIVED PROMPTLY
            ON THE SCENE AND HAVE BEEN DILIGENTLY
            FOLLOWING UP ON THE INVESTIGATION. 31

31
  https://www.nhtsa.gov/vehicle/2019/CHEVROLET/BOLT%2520EV/5%2520HB/FWD (last
visited Feb. 24, 2021).


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           • October 16, 2020 NHTSA ID NUMBER: 11364692
                 Incident Date October 16, 2020
                 CHEVY BOLT FINISHED CHANGING [sic] AND THEN
                 STARTED TO SMOKE FROM UNDER THE CAR. THE
                 SOUND OF POPPING NOISES WERE HEARD AND THEN 10
                 MINUTES LATER THE CAR WAS ENGULFED IN FLAMES.
                 THE CARS BATTERY PACK STARTING [sic] POPPING
                 THEN EXPLODED IN FLAMES. 32


           • July 17, 2020 NHTSA ID NUMBER: 11339878


                 Incident Date July 4, 2020
                 MY 2019 CHEVY BOLT WAS FULLY CHARGED AND
                 DRIVEN FOR 12 MILES TO OUR DESTINATION, A
                 TOWNHOUSE DEVELOPMENT WITH PRIVATE OUTDOOR
                 OPEN PARKING. WE ARRIVED AROUND 7:30PM, PARKED
                 IT AND TURNED IT OFF. 20 MINS LATER A NEIGHBOR
                 RANG OUR DOORBELL BECAUSE THERE WAS 20 FOOT
                 HIGH HEAVY WHITE/GRAY SMOKE CLOUD COMING OUT
                 THE BACK OF THE CAR. I CALLED 911 AND
                 FIREFIGHTERS DOUSED THE CAR WITH WATER FOR AN
                 HOUR AFTER SMASHING THE REAR WINDOW TO GET
                 ACCESS TO THE SMOKING AREA.THEY LEFT, LESS THAN
                 AN HOUR LATER I CALLED 911 AGAIN B/C THE SMOKE
                 RESTARTED. SMOLDERING WAS SO HOT IT PARTLY
                 BURNED THE BACKSEAT. ONCE THE CAR WAS COOL
                 ENOUGH IT WAS TOWED TO THE DEALERSHIP WHERE IT
                 WAS ORIGINALLY PURCHASED. THERE IT BEGAN TO
                 SMOKE AGAIN. 911 WAS CALLED AND FIREFIGHTERS
                 PUT OUT THE SMOKE ONCE AGAIN. THIS TIME THE
                 SMOKE WAS SMALL AND STARTED ON THE AREA
                 WHERE THE BACKSEAT WAS PREVIOUSLY LOCATED;
                 MINUTES LATER THE SAME HEAVY SMOKE CAME OUT
                 FAST FROM UNDERNEATH THE FRONT PASSENGER
                 SIDE. THE POLICE WERE THERE TO WITNESS THAT
                 INCIDENT. IT WAS AROUND MIDNIGHT THEN.
                 3 SPONTANEOUS COMBUSTIONS IN 4 HOURS; DOOR
                 CAMERA VIDEOS DIDN’T PICK UP MOVEMENT BETWEEN

32
     Id.


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                 OUR ARRIVAL AND THE NEIGHBOR RINGING THE BELL;
                 ONSTAR REPORTS DON’T SHOW ANYTHING
                 ELECTRICALLY WRONG WITH THE CAR; NO
                 ALTERATIONS HAD BEEN MADE TO IT; AND THE
                 DASHBOARD DIDN’T SHOW ANY WARNINGS DURING
                 THAT ONE LAST TRIP. BASED ON THE ABOVE, I BELIEVE
                 THE PROBLEM WAS A HIGH VOLTAGE BATTERY
                 RUNAWAY THERMAL EVENT.
                 EVEN THOUGH THE CAR IS STILL UNDER GM’S
                 WARRANTY, THEY REFUSE TO INVESTIGATE BECAUSE
                 WE CALLED OUR INSURANCE FIRST INSTEAD OF GM
                 (PER GM’S PRODUCT ASSISTANCE CLAIM TEAM). THE
                 CAR IS CURRENTLY AT AIIA AND GM COULD GO
                 INVESTIGATE. BUT THEY WON’T. HOW MANY OTHER
                 BOLTS ARE SPONTANEOUSLY COMBUSTING AND
                 PEOPLE GETTING HURT? HOW MANY WILL IT TAKE FOR
                 GM TO CARE? THIS CAR’S DAMAGE LOOKS SIMILAR TO
                 MINE 33


F. GM Sold and Continues to Sell Class Vehicles with Knowledge of the Battery Defect

           65.   GM marketed, distributed, and sold Chevrolet Bolt vehicles throughout the United

States, including in the State of Oregon.

           66.   GM knew or should have known that the Class Vehicles were being advertised

and sold with false and misleading representations regarding the range of the Class Vehicles and

without disclosing the risk of fire posed by the defective Batteries. Despite this knowledge, GM

has failed to compensate owners and lessees of the Class Vehicles. Instead, GM has implemented

a temporary software change that reduces the Battery capacity by at least 10%, thereby reducing

driving range and significantly reducing the Bolt’s functionality.

           67.   Due to the Battery Defect, the Chevrolet Bolt is defective and is not fit for its

intended purpose.



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     Id.


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       68.       As a result of GM’s unfair, deceptive and/or fraudulent business practices, Class

Members have been deprived of the benefit of their bargain, lost use of their Class Vehicles for

extended periods of time, been exposed to dangerous conditions, and have incurred lost time and

out-of-pocket costs. Class Vehicles also have diminished value due to the Battery Defect.

             ANY APPLICABLE STATUTES OF LIMITATION ARE TOLLED

       69.       Prior to the recall, Plaintiffs and Class Members did not discover, and could not

have discovered through reasonable diligence, that the Class Vehicles had the Battery Defect or

that they soon would lose 10% or more of the Bolt’s range. The only means for Plaintiffs and

Class Members to make this discovery was through notice by Defendant -- or by their own Bolt

catching fire.

       70.       Accordingly, the tolling doctrine applies and any otherwise-applicable statutes of

limitation have been tolled under the discovery rule. Additionally, all applicable statutes of

limitation have been tolled by GM’s knowing and active fraudulent concealment.

       71.       Further, GM is estopped from relying on any statutes of limitation in defending

this action because despite GM’s continuous duty to disclose to Plaintiffs and Class Members the

character, quality, and nature of the Class Vehicles’ Battery and range, GM knowingly concealed

the Battery Defect from Bolt owners and lessees.

                                      CLASS AVERMENTS

       72.       Plaintiffs bring this action on their own behalf, and on behalf of the following

Nationwide Class pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),

defined as follows:

                 All purchasers and lessees of model year 2017 through 2019
                 Chevrolet Bolt vehicles who purchased or leased their vehicle
                 in the United States for end use and not for resale.




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        73.     Plaintiffs bring this action on their own behalf, and on behalf of the following

Oregon Subclass pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),

defined as follows:

                All purchasers and lessees of model year 2017 through 2019
                Chevrolet Bolt vehicles who purchased or leased their vehicle
                in the State of Oregon for end use and not for resale.

        74.     Together, the Nationwide Class and the Oregon Subclass shall be collectively

referred to herein as the “Class.”

        75.     Excluded from the Class are: Defendant, its affiliates, subsidiaries, parents,

successors, predecessors, and any entity in which Defendant or its parents have a controlling

interest; Defendant’s current and former employees, officers and directors; the Judge(s) and/or

Magistrate(s) assigned to this case; any person who properly obtains exclusion from the Class; any

person whose claims have been finally adjudicated on the merits or otherwise released; and the

parties’ counsel in this litigation. Plaintiffs reserve the right to modify, change, or expand the Class

definitions based upon discovery and further investigation.

        76.     Numerosity: The Class is so numerous that joinder of all members is impracticable.

While the exact number of individual Class Members is unknown at this time, GM is reported to

have sold more than 58,000 Bolts in the United States from late 2016 through 2019. 34 Plaintiffs

believe, and on that basis aver, that the Class numbers in the tens of thousands.

        77.     Existence and Predominance of Common Questions of Fact and Law: Common

questions of law and fact exist as to all members of the Class. These questions predominate over




34
  See https://gmauthority.com/blog/gm/chevrolet/bolt-ev/chevrolet-bolt-ev-sales-numbers/ (last
visited Feb. 24, 2021).



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the questions affecting individual Class Members. These common legal and factual questions

include, but are not limited to:

                a.      Whether GM engaged in the conduct alleged herein;

                b.      Whether GM knew or should have known about the Battery Defect but

failed to disclose it and its consequences to members of the proposed Class;

                c.      When GM became aware of the Battery Defect;

                d.      Whether GM knowingly concealed the Battery Defect;

                e.      Whether a reasonable consumer would consider the Battery Defect or its

consequences to be material;

                f.      Whether GM’s conduct alleged herein violates consumer protection

statutes, false advertising laws, warranty laws, and other laws as asserted herein;

                g.      Whether Plaintiffs and Class Members overpaid for their Class Vehicles in

light of the Battery Defect;

                h.      Whether Plaintiffs and Class Members are entitled to damages, including

punitive damages, as a result of GM’s conduct alleged herein, and if so, the amount or proper

measure of those damages; and

                i.      Whether Plaintiffs and Class Members are entitled to equitable relief,

including but not limited to restitution and/or injunctive relief.

        78.     Typicality: Plaintiffs’ claims are typical of the claims of the Class since Plaintiffs

and all Class Members were injured in the same manner by Defendant’s uniform course of conduct

described herein. Plaintiffs and all Class Members have the same claims against Defendant relating

to the conduct alleged herein, and the events giving rise to Plaintiffs’ claims for relief are identical

to those giving rise to the claims of all Class Members. Plaintiffs and all Class Members sustained




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monetary and economic injuries including, but not limited to, ascertainable losses arising out of

Defendant’s wrongful conduct in selling and failing to remedy defective Class Vehicles. Plaintiffs

are advancing the same claims and legal theories on behalf of themselves and all absent Class

Members. There are no defenses available to GM that are unique to Plaintiffs.

       79.     Adequacy: Plaintiffs are adequate representatives for the Class because their

interests do not conflict with the interests of the Class that they seek to represent. Plaintiffs have

retained counsel competent and highly experienced in complex class action litigation – including

consumer fraud and automobile defect class action cases – and counsel intend to prosecute this

action vigorously. The interests of the Class will be fairly and adequately protected by Plaintiffs

and their counsel.

       80.     Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiffs and all Class Members. The injury suffered by

each individual Class Member is relatively small in comparison to the burden and expense of

individual prosecution of the complex and expensive litigation necessitated by Defendant’s

conduct. It would be virtually impossible for members of the Class individually to redress

effectively the wrongs done to them by Defendant. Even if Class Members could afford such

individual litigation, the court system could not. Individualized litigation presents a potential for

inconsistent or contradictory judgments. Individualized litigation increases the delay and expense

to all parties, and to the court system, presented by the complex legal and factual issues of the case.

By contrast, the class action device presents far fewer management difficulties, and provides the

benefits of a single adjudication, an economy of scale, and comprehensive supervision by a single

court. Upon information and belief, members of the Class can be readily identified and notified




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based upon, inter alia, the records (including databases, e-mails, dealership records and files, etc.)

Defendant maintains regarding its sales and leases of Class Vehicles.

       81.      Defendant has acted, and refuses to act, on grounds generally applicable to the

Class, thereby making appropriate final equitable relief with respect to the Class as a whole.

                                        COUNT I
                                   Common Law Fraud
         (On behalf of the Nationwide Class or, alternatively, the Oregon Subclass)

       82.      Plaintiffs repeat and incorporate by reference the factual averments in the foregoing

paragraphs.

       83.      Plaintiffs bring this claim on their own behalf and on behalf of the Nationwide Class

or, in the alternative, on behalf of the Oregon Subclass.

       84.      GM’s advertising campaigns, product descriptions, and other materials consistently

touted the Class Vehicles’ EPA-estimated 238-mile range and the benefits of the Bolt’s Battery.

Salespeople at authorized GM dealerships discuss the Bolt’s EPA-estimated 238-mile range and

provide promotional materials that emphasize the range. The window sticker displayed on Class

Vehicles in dealer showrooms states that the car has an EPA-estimated range of 238 miles.

             a. Fraud based on affirmative misrepresentations

       85.      Defendant affirmatively misrepresented to Plaintiffs and the Class in advertising

and other forms of communication, including standard and uniform material provided with each

car, that the Class Vehicles it was selling had no significant defects and would perform and operate

properly, including when the Battery was fully charged. Defendant knew these representations

were false when made.




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       86.       The Class Vehicles purchased or leased by Plaintiffs and the Class were, in fact,

defective, unsafe, and unreliable, because the vehicles’ Batteries were susceptible to catching fire

when fully charged or nearly fully charged.

       87.       The aforementioned representations were material because they were facts that

would typically be relied on by a person purchasing or leasing a new motor vehicle, and in

particular an electric vehicle. Defendant knew or recklessly disregarded that its representations

were false, but intentionally made the false statements to sell vehicles.

       88.       When purchasing Defendant’s Class Vehicles, Plaintiffs did in fact rely on

Defendant’s affirmative assurance that its vehicles would safely and reliably travel the disclosed

driving range.

       89.       Had Plaintiffs and the Class known about the defective nature of the Class Vehicles

and the Battery Defect, they would not have purchased or leased the Class Vehicles or would have

paid less for them. As a result, Plaintiffs and the other Class members were fraudulently induced

to lease and/or purchase the Class Vehicles with the said defects and all of the resultant problems.

             b. Fraud based on material omissions

       90.       GM’s words and actions in promoting the Bolt’s EPA estimated 238-mile range

and encouraging customers to fully charge the Battery in Class Vehicles created a false impression

about the safety and range of the Class Vehicles.

       91.       GM’s representations were, in effect, half-truths because the Battery Defect renders

the Battery unsafe when fully, or nearly fully, charged, and the software change that makes the

Battery safer also reduces its range to significantly less than 238 miles. GM did not disclose the

risk of a fire, the need for a software change, or the Bolt’s resulting reduced range to Plaintiffs or

other Class Members.




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          92.        A reasonable consumer would have expected that the Chevy Bolt would not be

defective and pose a serious safety risk and would have expected to be able to safely fully charge

the vehicle to achieve the advertised EPA-estimated range. The facts not disclosed by Defendant

to Plaintiffs and Class Members are material in that a reasonable consumer would have considered

them to be important in deciding whether to purchase or lease Defendant’s Class Vehicles and how

much to pay for the vehicle.

          93.        Plaintiffs saw and heard GM’s representations and half-truths about the Bolt’s

Battery and EPA-estimated 238-mile range. They relied on those representations and half-truths

in deciding to purchase the Bolt. Among other things, Plaintiffs Carr and Wyers considered buying

another all-electric vehicle, the Nissan Leaf, but bought the Bolt instead because of its greater

range.

          94.        Had Plaintiffs or the other Class Members known the whole truth about the Bolt’s

Battery Defect and reduced range, they would not have purchased the Bolt or would have paid less

for it.

                c.   Fraudulent concealment

          95.        GM concealed material facts from Plaintiffs and the Class. Even after receiving

reports about fires in Bolt Batteries, GM did not tell customers about GM’s investigation into those

fires, about the Battery Defect, or about GM’s intention to address the risk of fire by reducing the

charging capacity of the Batteries by at least 10%, thus reducing the Bolt’s range. Indeed, at least

one Bolt Battery fire had already been reported to NHTSA when a GM engineer publicly stated

that that GM had “engineered the battery system so that you can charge to 100% and maximize

range.”




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       96.      Defendant intentionally concealed the Battery Defect, or acted with reckless

disregard for the truth, and denied Plaintiffs and the Class information that was highly relevant to

their purchasing or leasing decisions.

       97.      A reasonable consumer would have expected that the Chevy Bolt would not be

defective and pose a serious safety risk and would have expected to be able to safely fully charge

the vehicle to achieve the advertised EPA-estimated range. The facts Defendant concealed from

Plaintiffs and Class Members are material in that a reasonable consumer would have considered

them to be important in deciding whether to purchase or lease Defendant’s Class Vehicles and how

much to pay for the vehicle.

       98.      The aforementioned concealment was material because if it had been disclosed,

Plaintiffs and Class Members would not have bought or leased the Class Vehicle or would have

bought or leased the vehicle at a substantially reduced price.

             d. Plaintiffs are entitled to actual and punitive damages

       99.      Plaintiffs and the Class have been injured in an amount to be proven at trial,

including, but not limited to, their lost benefit of the bargain and overpayment at the time of

purchase and/or the diminished value of the Class Vehicles.

       100.     Defendant’s conduct was knowing, intentional, with malice, and demonstrated a

complete lack of care and was in reckless disregard for the rights of Plaintiffs and the Class.

Plaintiffs and the Class are therefore entitled to an award of punitive damages.

                                           COUNT II
                     Violation of the Oregon Unlawful Trade Practices Act
                           (Or. Rev. Stat. § 646.605 through 646.656)
                              (On Behalf of the Oregon Subclass)

       101.     Plaintiffs repeat and incorporate by reference the factual averments in the preceding

paragraphs.



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          102.   Plaintiffs bring this claim on behalf of themselves and on behalf of the members of

the Oregon Class.

          103.   Defendant and Plaintiffs are “persons” under the Oregon Unlawful Trade Practices

Act, ORS § 646.605(4).

          104.   Plaintiffs purchased their Bolt primarily for personal, family or household purposes

and thus their Class Vehicle is a “good” under ORS § 646.605(6)(a).

          105.   GM is and was engaged in “trade” and “commerce” as defined by ORS §

646.605(8).

          106.   ORS § 646.607, provides in relevant part that a “person engages in an unlawful

trade practice if in the course of the person’s business, vocation or occupation the person . . .

[e]mploys any unconscionable tactic in connection with selling . . . goods or services.”

          107.   Defendant knew that the Class Vehicles’ Batteries were defectively designed or

manufactured, would fail prematurely, and were not suitable for their intended use.

          108.   Defendant employed unconscionable tactics in selling the Class Vehicles by not

giving Plaintiffs and Class members sufficient notice or warning regarding the Battery Defect,

intending that Plaintiffs and the Class rely upon GM’s omissions when purchasing the Class

Vehicles. Plaintiffs and Class Members were deceived by GM’s concealment of the Battery

Defect.

          109.   Defendant also engaged in unlawful and deceptive practices in violation of ORS §

646.608 by causing likelihood of confusion or of misunderstanding as to the source, sponsorship,

approval, or certification of the Class Vehicles (ORS § 646.608(b)); representing that the Class

Vehicles have characteristics, uses, benefits, quantities and qualities that they do not have (ORS §

646.608(e)); representing that the Class Vehicles are of a particular standard, quality or grade when




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they are of another (ORS § 646.608(g)); concurrently with tender or delivery of the Class Vehicles,

failing to disclose known material defects or material nonconformities (ORS § 646.608(t)); and

engaging in other unfair or deceptive conduct (ORS § 646.608(u)).

       110.    Defendant also engaged in unlawful and deceptive practices in violation of ORS

646.607 and 646.608 when it failed to provide the full cost to repair the Class Vehicles and replace

their defective Batteries after being notified of the Battery Defect.

       111.    GM knew or should have known that its conduct was a violation of the Oregon

Unfair Trade Practices Act, ORS § 646.605 - .656, and therefore its conduct was willful. ORS §

646.605(10).

       112.    Plaintiffs and Class Members have suffered an ascertainable loss of money or

property as a direct and proximate result of Defendant’s willful use or employment of unlawful

methods, acts or practices and so are entitled to recover actual damages or $200, whichever is

greater, plus punitive damages, attorney’s fees and costs, and appropriate equitable relief. ORS §

646.638(1).

       113.    In addition, Plaintiffs and the Class are entitled to obtain injunctive relief and

recover reasonable attorney fees for Defendant’s violations of ORS § 646.608.

                                         COUNT III
                        Breach of Implied Warranty of Merchantability
                          Violation of Or. Rev. Stat. § 72.8020 et seq.
                             (On Behalf of the Oregon Subclass)

       114.    Plaintiffs repeat and incorporate by reference the factual averments in the preceding

paragraphs.

       115.    Plaintiffs bring this claim on behalf of themselves and on behalf of the members of

the Oregon Subclass.

       116.    The Class Vehicles are “consumer goods” as defined in ORS § 72.8010(1).



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       117.    Plaintiffs and Class Members are “buyers” and “retail buyers” as defined in ORS §

72.8010(2).

       118.    GM is and was at all relevant times a “manufacturer” as defined in ORS §

72.8010(3) with respect to the Class Vehicles.

       119.    Pursuant to ORS § 72.8020, GM impliedly warranted that the Class Vehicles and

their Batteries are fit for the ordinary purposes for which they are used: transporting the driver

and passengers in reasonable safety during normal operation, without unduly endangering them or

members of the public.

       120.    By marketing, advertising, distributing, and selling Class Vehicles with the Battery

Defect, Defendant breached the implied warranty that the Class Vehicles, including their Batteries,

were merchantable and safe for use as personal transportation.

       121.    The Battery Defect existed at the time the Class Vehicles left Defendant’s

manufacturing facilities and at the time they were sold or leased to Plaintiffs and the Class.

       122.    Plaintiffs and the Oregon Subclass Members have performed the duties required of

them under the terms of the warranties, except as may have been excused or prevented by GM’s

conduct or by operation of law in light of GM’s unconscionable conduct.

       123.    GM received timely notice regarding the Battery Defect but has failed and refused

to offer an effective remedy.

       124.    Plaintiffs and the Oregon Subclass Members have had sufficient dealings with GM

or its agents to establish privity of contract. Privity is not required in this case, however, because

Plaintiffs and the Oregon Subclass Members are intended third-party beneficiaries of contracts

between GM and its authorized dealers and are intended beneficiaries of GM’s implied warranties.




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The dealers were not intended to be the ultimate consumers of Class Vehicles, and the warranties

were designed for and intended to benefit the ultimate consumers only.

       125.    As a direct and proximate result of GM’s breach of the implied warranty of

merchantability, Plaintiffs and the Oregon Subclass Members suffered economic damage,

including loss attributable to the diminished value of the Class Vehicles.

                                       COUNT IV
                               Breach of Express Warranty
       (On Behalf of the Nationwide Class, or in the alternative the Oregon Subclass)

       126.    Plaintiffs repeat and incorporate by reference the factual averments in the preceding

paragraphs.

       127.    Plaintiffs bring this claim on behalf of themselves and on behalf of the Nationwide

Class or, in the alternative, the Oregon Subclass.

       128.    Plaintiffs and other Class Members formed a contract with Defendant at the time

they purchased or leased their Class Vehicles. The terms of the contract include the promises,

affirmations of fact, and express warranties made by Defendant.

       129.    Among other things, Defendant promised its customers that GM was “committed

to making sure you are completely satisfied with the new vehicle” 35 and would have an excellent

ownership experience. 36



35
   2019 Bolt EV Owner’s Manual, at 335,
https://my.gm.ca/chevrolet/en/content/dam/gmownercenter/gmna/GMCC/dynamic/2019/chevrol
et/Bolt/en/2019-chevrolet-bolt-ev-owners-manual-english.pdf (last visited Feb. 24, 2021); 2018
Bolt EV Owner’s Manual, at 333,
https://my.chevrolet.com/content/dam/gmownercenter/gmna/dynamic/manuals/2018/Chevrolet/B
olt/2018-chevrolet-bolt-ev-owners-manual.pdf (last visited Feb. 24, 2021); 2017 Bolt EV
Owner’s Manual, at 324,
https://my.chevrolet.com/content/dam/gmownercenter/gmna/dynamic/manuals/2017/Chevrolet/B
OLT%20EV/Owner's%20Manual.pdf (last visited Feb. 24, 2021).
36
   2019 Limited Warranty and Owner Assistance Information (“2019 Limited Warranty
Booklet”) at 1,


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       130.    GM provided all purchasers and lessees of 2016 through 2019 model year

Chevrolet vehicles with the following warranties:

               a.      A “New Vehicle Limited Warranty” providing “Bumper-to-Bumper”

       coverage for the first 3 years or 36,000 miles; and

               b.      A Powertrain Limited Warranty of 5 years/60,000 miles. 37

       131.    “For vehicles sold in the United States, in addition to the Bumper-to-Bumper

Coverage described” in the prior paragraph, “Chevrolet “warrant[ed] certain components for Each

Chevrolet . . . Bolt EV. . . for 8 years or 100,000 miles…against warrantable repairs to the specific

electric propulsion components of the vehicle,” which includes repair to and replacement of the

high voltage “Propulsion Battery” at issue in this lawsuit. 38

       132.    Defendant also offers an optional extended new vehicle limited warranty.

       133.    The Plaintiffs’ and Class Members’ Class Vehicles did not perform as promised

due to the Battery Defect.

       134.    The Class Vehicles were defective as herein alleged at the time they left

Defendant’s factories, and the vehicles reached Plaintiffs and Class Members without substantial

change in the condition in which they were sold.




https://www.chevrolet.com/content/dam/chevrolet/na/us/english/index/owners/warranty/02-
pdfs/19_CHEV_WM_.pdf (last visited Feb. 24, 2021); 2018 Limited Warranty and Owner
Assistance Information (“2018 Limited Warranty Booklet”) at 1,
https://www.chevrolet.com/content/dam/chevrolet/na/us/english/index/owners/warranty/02-
pdfs/2018-chevrolet-limited-warranty-and-owner-assistance-information.pdf (last visited Feb.
24, 2021).
37
   2019 Limited Warranty Booklet at 2; 2018 Limited Warranty Booklet, at 2; Important
Information, https://www.chevrolet.com/important-information (last visited Feb. 24, 2021).
38
   2019 Limited Warranty Booklet at 13-14; 2018 Limited Warranty Booklet at 13-14; Important
Information, https://www.chevrolet.com/important-information (last visited Feb. 24, 2021).


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       135.    Defendant has actual knowledge that it breached its express warranties to Plaintiffs

and Class Members regarding the Class Vehicles.

       136.    Defendant breached the terms of its express warranties by selling Class Vehicles

with dangerous defects.

       137.    Defendant breached the terms of its express warranties by not providing Class

Vehicles with properly functioning Batteries.

       138.    Plaintiffs sought assistance from Defendant for their Class Vehicle pursuant to the

recall during the express warranty period. GM has not provided a permanent solution to the Battery

Defect, and Class Vehicles have not been repaired and restored to the condition warranted.

       139.    As the foreseeable and actual result of Defendant’s breach of express warranties,

Plaintiffs and the Class have been damaged in an amount that is the difference between the value

of the Class Vehicles if they had possessed Batteries as warranted and had performed as

represented, and the value of the Class Vehicles that Plaintiffs and the Class actually received.


                                         COUNT V
                                    Unjust Enrichment
       (On behalf of the Nationwide Class or in the alternative the Oregon Subclass)
                    (In the Alternative to Plaintiffs’ Warranty Claims)

       140.    Plaintiffs repeat and incorporate by reference the factual averments contained in the

preceding paragraphs.

       141.    Plaintiffs bring this claim on behalf of themselves and the Class.

       142.    Plaintiffs and Class Members have overpaid for their defective Class Vehicles in

amounts that they would not have paid to purchase or lease the vehicles had they known of the

Battery Defect.




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         143.   Defendant has been unjustly enriched by these overpayments, which were obtained

by the conduct described herein. Equity militates against Defendant retaining these ill-gotten gains.

         144.   Defendant should be required to relinquish the monies it obtained and disgorge its

profits from sales of Class Vehicles as restitution to place Plaintiffs and Class Members in the

position in which they would have been had Defendant not knowingly sold Class Vehicles with a

concealed Battery Defect that potentially causes a vehicle fire and that has caused Plaintiffs and

Class Members to experience reduced driving range.

                                          COUNT VI
                        Violation of the Magnuson-Moss Warranty Act
                             15 U.S.C. § 2301 et seq. (“MMWA”)
                              (On behalf of the Nationwide Class)

         145.   Plaintiffs repeat and incorporate by reference the factual averments in the preceding

paragraphs.

         146.   Plaintiffs bring this claim on their own behalf and on behalf of the Nationwide

Class.

         147.   The Class Vehicles are a “consumer product” within the meaning of the MMWA,

15 U.S.C. § 2301(1).

         148.   Plaintiffs are “consumers” under the MMWA, 15 U.S.C. § 2301(3).

         149.   Defendant is a “supplier” and a “warrantor” under the MMWA, 15 U.S.C. §

2301(4)-(5).

         150.   Under 15 U.S.C. § 2301(d)(1), consumers have a cause of action when they are

damaged by a warrantor’s failure to comply with a written warranty.

         151.   Defendant’s 3-year/36,000 mile “bumper to bumper” new vehicle limited warranty

is a “written warranty” under the MMWA. 15 U.S.C. § 2301(6).




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       152.    Defendant’s 5-year/60,000 mile Powertrain Limited Warranty is a “written

warranty” under the MMWA. 15 U.S.C. § 2301(6).

       153.    Defendant’s 8-year/100,000 mile electric vehicle component warranty is a “written

warranty” under the MMWA. 15 U.S.C. § 2301(6).

       154.    Defendants’ representations that the Class Vehicles sold to Plaintiffs and other

Class Members have “an EPA-estimated 238 miles” on “a full charge” and that Plaintiffs and Class

Members can “top off your battery as much or as little as you like” 39 are written warranties within

the meaning of the MMWA, 15 U.S.C. § 2301(6).

       155.    Through these written warranties, Defendant warranted to Plaintiffs and Class

Members that the Class Vehicles were free from defects, were of merchantable quality, and were

fit for their ordinary and represented use.

       156.    Plaintiffs and Class Members relied on the existence and duration of these written

warranties when deciding whether to purchase or lease the Class Vehicles.

       157.    Defendant breached the warranties as described herein. Contrary to Defendant’s

representation, Plaintiffs and other Class Members were and continue to be subject to the Battery

Defect and must either limit their battery charge to 90% or risk a car fire that could endanger lives

and destroy other property.

       158.    Defendant further breached its written warranties by:




39
   https://web.archive.org/web/20171011012928/http:/www.chevrolet.com/bolt-ev-electric-
vehicle#charging;
https://web.archive.org/web/20190421140946/https://www.chevrolet.com/previous-year/bolt-ev-
electric-car;
https://web.archive.org/web/20180929091633/https://www.chevrolet.com/electric/bolt-ev-
electric-car?cmp=OLA_DISPLAY_20519044_211515933_411199255_77369262 (all last
visited Feb. 24, 2021).


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                a.       Selling and leasing Class Vehicles with a battery that was defective in

        materials and/or workmanship, requiring repair or replacement within the warranty period;

        and

                b.       Refusing and/or failing to honor the warranties by repairing or replacing the

        Battery and thereby leaving the Class Vehicles with a capability less than that that was

        advertised.

        159.    Defendant knew, or should have known, of the Battery Defect in the Class Vehicles.

        160.    Defendant knew, or should have known, of its misrepresentations and omissions

regarding the capabilities of the Class Vehicles yet proceeded with a coordinated advertising

campaign through which Defendant promised that the Class Vehicles have “an EPA-estimated 238

miles” on “a full charge” and that Plaintiffs and Class Members can “top off your battery as much

or as little as you like.”

        161.    Defendant has been given reasonable opportunity to cure its breaches of warranty.

Defendant had actual knowledge and ample notice that the Battery in the Class Vehicles is and

was defective yet failed to provide an adequate remedy.

        162.    As a result of the Battery Defect, the Class Vehicles fail to perform in accordance

with their ordinary and intended purposes and are unfit and unreasonably dangerous for ordinary

use.

        163.    As a direct and proximate result of Defendant’s breach of written warranties,

Plaintiffs and Class Members have suffered damages in an amount to be determined at trial.

        164.    The amount in controversy for purposes of Plaintiffs’ individual claims exceeds

$25. The amount in controversy in this action exceeds $50,000, exclusive of interest and costs,

computed on the basis of all claims to be adjudicated. 15 U.S.C. § 2310(d)(3).




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       165.   Plaintiffs also seek costs and expenses, including reasonable attorneys’ fees, under

the MMWA. 15 U.S.C. § 2310(d)(2).


                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated, hereby

request that this Court enter an Order against Defendant providing the following:

              A.      Certification of the proposed Class, appointment of Plaintiffs as

       representatives of the Class and the Oregon Subclass, and counsel of record as Class

       Counsel;

              B.      Injunctive relief temporarily and permanently enjoining Defendant from

       continuing to engage in the unlawful conduct alleged herein;

              C.      Payment to Plaintiffs and Class Members of all out-of-pocket expenses

       resulting from or arising from the Battery Defect alleged herein;

              D.      An award of all actual, general, special, incidental, statutory, punitive, and

       consequential damages to which Plaintiffs and Class members are entitled (including,

       without limitation, the lost time value of money and any payments made to Chevrolet

       dealers to address the Battery Defect);

              E.      An award of pre- and post-judgment interest on any amounts awarded;

              F.      Any additional appropriate equitable, injunctive and/or declaratory relief,

       including, without limitation, an order that requires Defendant to repair, recall, and/or

       replace the Class Vehicles and to extend applicable warranties to a reasonable period of

       time, and to provide Plaintiffs and Class Members with appropriate curative notice

       regarding the existence and cause of the Battery Defect;

              G.      An award of reasonable attorneys’ fees, expenses, and costs of suit; and



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             H.      All such other or further relief as the Court may find to be appropriate.

                                       JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all issues so triable.



Dated: February 26, 2021


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                                              forthcoming)
                                              Gerard A. Dever (pro hac vice motion forthcoming)
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